              Case 3:21-md-02981-JD Document 244 Filed 05/25/22 Page 1 of 5




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14   Litigation and Attorneys for Peekya App
     Services, Inc.
15
     [Additional counsel appear on signature page]
16
                               UNITED STATES DISTRICT COURT
17
                             NORTHERN DISTRICT OF CALIFORNIA
18
                                     SAN FRANCISCO DIVISION
19
     IN RE GOOGLE PLAY STORE                         Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
20                                                   STIPULATION AND [PROPOSED]
     THIS DOCUMENT RELATES TO:                       ORDER RE DEVELOPER PLAINTIFFS’
21                                                   CLASS CERTIFICATION DEADLINES
     In re Google Play Developer Antitrust           IN LIGHT OF SETTLEMENT
22   Litigation, Case No. 3:20-cv-05792-JD
                                                     [Civil L.R. 6-2]
23                                                   Judge: Hon. James Donato
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      ___________________________________________________________________________________________
            STIPULATION AND [PROPOSED] ORDER – Case Nos. 3:20-cv-05792-JD, 3:21-md-02981-JD
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                Case 3:21-md-02981-JD Document 244 Filed 05/25/22 Page 2 of 5




 1          Pursuant to Civil Local Rule 6-2, the plaintiffs in the In re Google Play Developer

 2   Antitrust Litigation, No. 3:20-cv-5792-JD (N.D. Cal.) (“Developer Plaintiffs”); and the

 3   defendants Google LLC, Google Ireland Limited, Google Commerce Limited, Google Asia

 4   Pacific Pte. Limited, and Google Payment Corp. (collectively, “Google”), stipulate as follows:

 5          WHEREAS, the current case schedule, ECF No. 191, 198, In re Google Play Store

 6   Antitrust Litigation, 3:21-md-02981-JD, requires Developer Plaintiffs to file a class certification

 7   motion on May 26, 2022, with additional class certification filing deadlines to follow for

 8   Developer Plaintiffs and Google in connection with that motion.

 9          WHEREAS, the current case schedule requires Google and Developer Plaintiffs to file

10   Daubert motions in connection with the other party’s class certification expert reports on May

11   26, 2022, with additional filing deadlines to follow for both parties in connection with such

12   motions.

13          WHEREAS, Developer Plaintiffs and Google have agreed to the principal terms on

14   which the parties will settle In re Google Play Developer Antitrust Litigation, No. 3:20-cv-5792-

15   JD (N.D. Cal.), subject to Court approval, on behalf of a class of U.S. Developers that sold paid

16   apps or in-app content through the Google Play store and had up to $2 million in annual sales

17   through the Google Play store during each year of the 2016-2021 period. Developers Plaintiffs

18   and Google estimate that the proposed settlement class represents more than 99 percent of all

19   U.S. developers selling paid apps or in-app content through the Google Play store.

20          WHEREAS, Developer Plaintiffs and Google are working expeditiously and in good

21   faith to finalize the long-form settlement agreement, and anticipate that any motion for

22   preliminary approval of the settlement will be filed on or before June 16, 2022.

23          WHEREAS, in furtherance of the settlement, and to conserve judicial and party

24   resources, the Developer Plaintiffs and Google agree, and request that the Court order, that the

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      ___________________________________________________________________________________________
            STIPULATION AND [PROPOSED] ORDER – Case Nos. 3:20-cv-05792-JD, 3:21-md-02981-JD
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                  Case 3:21-md-02981-JD Document 244 Filed 05/25/22 Page 3 of 5




 1   class certification and Daubert deadlines as between the Developer Plaintiffs and Google should

 2   be held in abeyance pending further order of the Court, with the parties agreeing to reserve all

 3   rights related to class certification.

 4           NOW, THEREFORE, IT IS STIPULATED AND AGREED, SUBJECT TO THE

 5   APPROVAL OF THE COURT:

 6           1.       All class certification deadlines and deadlines for Daubert motions for class

 7   certification experts as between Developer Plaintiffs and Google, in Case No. 3:20-cv-05792-JD,

 8   shall be held in abeyance pending further order of the Court.

 9           2.       Developer Plaintiffs shall file a motion for preliminary approval of the settlement

10   as soon as is practicable, but on or before June 16, 2022.

11   Dated: May 25, 2022

12                                                  HAGENS BERMAN SOBOL SHAPIRO LLP
                                                      Steve W. Berman
13                                                    Robert F. Lopez
                                                      Ben M. Harrington
14                                                    Benjamin J. Siegel

15                                                  SPERLING & SLATER, PC
                                                       Joseph M. Vanek
16                                                     Eamon P. Kelly
                                                       Alberto Rodriguez
17
                                                    Respectfully submitted,
18
                                                    By: /s/ Steve W. Berman
19                                                     Steve W. Berman

20                                                      Co-Lead Interim Class Counsel for the
                                                        Developer Class and Attorneys for Plaintiffs
21                                                      Pure Sweat Basketball and LittleHoots, LLC

22

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      ___________________________________________________________________________________________
            STIPULATION AND [PROPOSED] ORDER – Case Nos. 3:20-cv-05792-JD, 3:21-md-02981-JD
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            Case 3:21-md-02981-JD Document 244 Filed 05/25/22 Page 4 of 5




 1                                            HAUSFELD LLP
                                                Bonny E. Sweeney
 2                                              Melinda R. Coolidge
                                                Katie R. Beran
 3                                              Scott A. Martin
                                                Irving Scher
 4
                                              Respectfully submitted,
 5
                                              By: /s/ Bonny E. Sweeney
 6                                               Bonny E. Sweeney

 7                                                Co-Lead Interim Class Counsel for the
                                                  Developer Class and Attorneys for Plaintiffs
 8                                                Peekya App Services, Inc. and Scalisco LLC

 9
                                              MORGAN, LEWIS & BOCKIUS LLP
10                                              Brian C. Rocca
                                                Sujal J. Shah
11                                              Michelle Park Chiu
                                                Minna L. Naranjo
12                                              Rishi P. Satia
13                                            Respectfully submitted,

14                                            By: /s/ Brian C. Rocca
                                                 Brian C. Rocca
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                                                  Counsel for Defendants Google LLC et al.
16

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                                              O’MELVENY & MYERS LLP
18                                               Daniel M. Petrocelli
                                                 Ian Simmons
19                                               Benjamin G. Bradshaw
                                                 Stephen J. McIntyre
20
                                              Respectfully submitted,
21
                                              By: /s/ Ian Simmons
                                                 Ian Simmons
22
                                                  Counsel for Defendants Google LLC et al.
23

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     ___________________________________________________________________________________________
           STIPULATION AND [PROPOSED] ORDER – Case Nos. 3:20-cv-05792-JD, 3:21-md-02981-JD
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              Case 3:21-md-02981-JD Document 244 Filed 05/25/22 Page 5 of 5




 1                                                 MUNGER, TOLLES & OLSON LLP
                                                     Glenn D. Pomerantz
 2                                                   Kyle W. Mach
                                                     Kuruvilla Olasa
 3                                                   Justin P. Raphael
                                                     Emily C. Curran-Huberty
 4                                                   Jonathan I. Kravis

 5                                                 Respectfully submitted,

 6                                                 By: /s/ Glenn D. Pomerantz
                                                      Glenn D. Pomerantz
 7
                                                       Counsel for Defendants Google LLC et al.
 8

 9
            PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                            ISTRIC
10                                                                     TES D       TC
                                                                     TA
     Dated: _________________________
             May 25, 2022                               ______________________________________




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                                                                   United States District Judge
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          I, Steve W. Berman, am the ECF User whose ID and password are being used to file this
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     document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest        C T of the
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16
     signatories identified above has concurred in this filing.
17

18                                                                 s/ Steve W. Berman
                                                                  STEVE W. BERMAN
19

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            STIPULATION AND [PROPOSED] ORDER – Case Nos. 3:20-cv-05792-JD, 3:21-md-02981-JD
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